                      Case 2:18-cr-00422-DJH Document 775-3 Filed 10/18/19 Page 1 of 6

                         Case 2:18-mb-09126-ESW Document 6 Filed 04/16/18 Page 4 of

AC)93 (Rev. 11/13)Search and Seizure Warrant(Pap 2)

                                                                        - Return
Case No.:                       Date and time warrant executed:                        'Copy of warrant and inventory left with:
        19,-q/2.6    M13      ,       ripii i 47, lott I:00db-,                                    '5. tt .6.4,-.1.:,,-
Inventory made in the presence of:
                                                      4,4
Inventory of the property taken and name of any person(s)seized:




                               0  "coo      Sec       4,4-4:ka-oci-   FD- c9-I rec,,,,-I 43,- erneet-1-7 ,-0"J--(
                                                                                   )
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                                                   . 34c.IL (....AC                  <
                                                                               Pc.- kw
                                                                           i                 kic..(Ie 7 , A




                                                                      Certification


       I declare under penalty ofperjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:      411°12. t
                                                                                       4"
                                                                                        -1 Executing officer's signature

                                                                                        /401.4 I . rri..?,r5er      Spe c.:r.( /1a .... 4
                                                                                                  Printed name and title
             Case 2:18-cr-00422-DJH Document 775-3 Filed 10/18/19 Page 2 of 6

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FA-597(Rev 041-94)                                                                                             P age 1 of 5

                            UNITED STATE DEPARTMENT OF JUSTICE
                             FEDERAL BUREAU OF INVESTIGATION
                                    Receiptfor Property    Recelved/Retumed/Released/Seized

File #:50A-PX-
9247052

On(date)      4/6/2018                                                                        item(s) listed below were:
                                                                                              ❑ Received From
                                                                                              ❑ Received To
                                                                                              ❑ Released To
                                                                                              :► i Seized


(Name)
(Street Address)
(City)


Description of Item(s):
Patek Philippe watch with brown wristband
(2) SF Fire Credit Union receipts
(1) First Federal Savings & Loan debit card and (1) Arizona Bank & Trust NOT TAKEN
(1) 2018 Planner
 Patek Philippe watch with black wristband
 US Passport for Michael Gerard Lacey
 (3) $100 bills, (20) $20 bills, (10) $10 bills, (6) $5 bills, and (7) $1bills
 (73) $100 bills, (38) $50 bills, (5) $20 bills
 US Passport No. 444834436 Michael Gerard Lacey
 Microsoft Surface laptop serial no. 038796271653 with cord
 Dell All In One computer S/N C2KR922 with power cord
 Banco de Mexico pesos
 Cuban currency (1) $50 bill, (12) $20 bill, (13) $10 bill, (12) $5 bill, (7) $3 bill, (7) $1bill, (7) coins
 $280 Canadian Dollars
 Orange Nikon coolpix camera S/N 31004776 Model W300 with battery and SD card
 Suspected Marijuana
 (2) Vehicle titles 2014 Jaguar and 2010 Dodge
 Receipts for rugs and art work
 Orange Nikon Coolpix S/N 31001848 with SD card and battery
              Case 2:18-cr-00422-DJH Document 775-3 Filed 10/18/19 Page 3 of 6

                Case 2:18-mb-09126-ESW Document 6 Filed 04/16/18 Page 6 of
FD-597(Rev 8-1194)                                                                          age 2 of 5

                              UNITED STATE DEPARTMENT OF JUSTICE
                               FEDERAL BUREAU OF INVESTIGATION
                                 Receipt for Property   Received/Returned/Released/Seized

File #:50A-PX-
9247052
Apple !pad A1673 S/N DMPRK97XHMK
Apple Macbook Pro S/N CO2HJO1DV7M with power cord
(7)bracelets yellow color
(8)watches
(16) rings and (1)ring box
Coin inside envelope
(4)necklaces and (1) bracelet,(1)jewelry box,(1)necklace holder
(5)sets ofearrings(1) bag of earring backs(1)stone white in color
Jewelry receipts
Indian and Horse artwork
Standing Indian painting
(3)rings
(2)rings
(2)necklaces
(2)sets of earrings
(1)watch
Cement statue
Te mando de besos de agua artwork
 Indian with feather painting
Fighting Buffalo painting
 HP All In One computer with power cord SN 4CS413096G
(15) photos in one frame of Grand Canyon
statue
Statue with fish
 Backpage document
Apple kr= S/N W80401KTDB7 with cord
 Receipt for Larsen gallery
 Receipt for medium wedding band
                Case 2:18-cr-00422-DJH Document 775-3 Filed 10/18/19 Page 4 of 6

                 Case 2:18-mb-09126-ESW Document 6 Filed 04/16/18 Page 7 of
 FD-597(Rev 841-94)                                                                        age 3of5

                           UNITED STATE DEPARTMENT OF JUSTICE
                            FEDERAL BUREAU OF INVESTIGATION
                                 Receiptfor Property   Received/Returned/Released/Seized

 File If: 50A-PX-
 9247052
 Larkin documents Attorney/Client
 Photograph appraisal and notes related to California arrest
 Aerial photo
 Wool rug kohinoor brown in color
 Wool runner
Apple Macbook Pro SN CO2SYAZBGTFM with power cord
 Man with Dog painting
Sex trafficking research articles and emails and receipts for artwork
 Notepad with handwritten notes and ATTORNEY CLIENT PRIVILEGE labeled document inserted
Picture with lady covered in leather
 Man and lady dancing photo
Photo of blurred soldier
Photo of man hanging from tree
Photo ofclown on rotierskates
Photo of Nixon and Kruzchev
Photo of lady and baby laying on bed
Photo ofJackie Kennedy
Black and white photo oftwo people dancing
(9)black and white etchings in one frame
Painting of mountain
Bird statue
statue oftwo rocks on a platform
Statue of Barry Goldwater
statue of bird
Brown sculpture clay pieces
Sculpture of six figures handing from sticks
White statue of Native American man standing on platform
White clay sculpture
              Case 2:18-cr-00422-DJH Document 775-3 Filed 10/18/19 Page 5 of 6

                  Case 2:18-mb-09126-ESW Document 6 Piled 04116/18 Page 8 of
FD-697(Rev 6.11-94)                                                                          age 4of 5

                            UNITED STATE DEPARTMENT OF JUSTICE
                             FEDERAL BUREAU OF INVESTIGATION
                                  Receipt for Property   Received/Returned/Released/Seized

File #:50A-PX-
9247052
Brown clock
(3)figures of people laying down
Large picture of lights coming out of ice
Cement statue with three squares
statue of white ship
Picture of person standing In front of a group of people
statue of brown ship
Statue of man coming out of a stack ofshoes
Picture of green hills
(2)rings yellow in color
NOT TAKEN
Picture of two birds on powerlines and two dogs on ground
Picture of birds flying above grass
Picture of water and sand
Photo of skulls
Picture of angel statue on building
Photo offramed art
Wood framed picture with blue squares on picture
Gray framed picture of canyon
Picture of field with billboard
Picture of desert landscape with light pole
Picture ofsnake on couch
Black framed photo ofskeleton with mustache
Picture of blurred woman
Picture of blurred man
Black framed photo of 5 blurred cowboys
Yellow framed picture of man with leaves in front of truck
Picture of landscape in yellow in color frame
             Case 2:18-cr-00422-DJH Document 775-3 Filed 10/18/19 Page 6 of 6

                Case 2:18-mb-09126-ESW Document 6 Filed 04116/18 Page 9 of
FD-697(Rey 84144)                                                                          age 5 of 5

                          UNITED STATE DEPARTMENT OF JUSTICE
                           FEDERAL BUREAU OF INVESTIGATION
                                 Receiptfor Property   Recelved1ReturnediReleasedISeized

File #:50A-PX-
9247052
Black framed painted landscape photo
Photo of people playing Instruments in the street
Black and white photo of alley way with a store on the right
NOT TAKEN
Colored canvas of city with San Carlos sign
Photo of Mexican mariachi record
Picture of Herb Alperts Tijuana record
NOT TAKEN
Statue of man's face
Black framed Frank Arnold black and white face
Statue oftwo birds
Colored face picture by Frank Arnold
Documents
Miscellaneous documents



 Received By                                                   Received From


  (signature)                                                     (signature)
